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                                    September 20, 2023

VIA ELECTRONIC FILING

The Honorable Rachel P. Kovner
United States District Court
225 Cadman Plaza East
Brooklyn, New York 11201

        Re:      Manfredo Bladimir Polanco v. Regina Caterers, Inc., and Fozan Pirzada
                 Case No.: 23-cv-04329-RPK-RML

Dear Judge Kovner:

       This firm represents Defendants Regina Caterers, Inc. (“Regina”), and Fozan
Pirzada (collectively, the “Defendants”). Pursuant to Section IV(A)(1) of Your Honor’s
Individual Rules of Practice in Civil Cases, the Defendants write to request a pre-motion
conference to file a Motion to Dismiss per F.R.C.P. 12(b)(1) and 12(b)(6).

        I.       Legal Standards

        A district court properly dismisses an action under Rule 12(b)(1) for lack of
subject matter jurisdiction “if the court lacks the statutory or constitutional power to
adjudicate it, such as when . . . the plaintiff lacks constitutional standing to bring the
action.” Cortlandt St. Recovery Corp. v. Hellas Telecomms., S.a.r.l, 790 F.3d 411, 416-
17 (2d Cir. 2015). To satisfy the “irreducible constitutional minimum of standing,” a
plaintiff “must have (1) suffered an injury in fact, (2) that is fairly traceable to the
challenged conduct of the defendant, and (3) that is likely to be redressed by a
favorable judicial decision.” Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016). The
burden is on “those who invoke the power of a federal court to demonstrate standing.”
Already, LLC v. Nike, Inc., 568 U.S. 85, 90 (2013).

         Under Rule 12(b)(6), a complaint may be dismissed for “failure to state a claim
upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6). When ruling on a motion to
dismiss pursuant to Rule 12(b)(6), the Court must accept all factual allegations in the
complaint as true and draw all reasonable inferences in the plaintiff’s favor. See Koch
v. Christie's Int’l PLC, 699 F.3d 141, 145 (2d Cir. 2012). The Court is not required,
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however, to credit “mere conclusory statements” or “[t]hreadbare recitals of the
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elements of a cause of action.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). A claim is
plausible “when the plaintiff pleads factual content that allows the court to draw the
reasonable inference that the defendant is liable for the misconduct alleged.” Id.

           II.      Summary of Factual Background

      On June 13, 2023, Manfredo Bladimir Polanco (“Plaintiff”) filed a collective action
complaint (the “Complaint”) in an action styled Polanco v. Regina Caterers, Inc., and
Fozan Pirzada, in the United States District Court for the Eastern District of New York,
bearing Case No.: 23-cv-04329-RPK-RML (the “Lawsuit”).

        According to the Complaint (ECF No. 1), Polanco was employed by Regina from
in or around June 2010 until in or around December 2020 as a food preparer, cook, and
cleaner. (Id. at ¶¶ 8, 19, 20.) Plaintiff alleges that he regularly worked six (6) to seven
(7) days per week, with shifts beginning at approximately 4:00 a.m. each workday and
regularly ending at approximately 7:00 p.m. or later. In addition, Plaintiff alleges that he
was paid a “flat weekly rate” during his employment at Regina. Consequently, the
Plaintiff alleges that the Defendants violated the Fair Labor Standards Act (“FLSA”) for
failure to pay overtime wages, and New York Labor Law (“NYLL”) for failure to pay
overtime wages, failure to pay spread of hour compensation, violation of the notice and
recordkeeping requirements, and violation of the wage statement requirements.

    III.         Plaintiff’s FLSA Claim is Time-Barred
       According to the Complaint, Plaintiff ceased working for the Defendants in
December 2020, but the Lawsuit was not filed until June 13, 2023. Plaintiff’s FLSA
claim is therefore barred by a two-year statute of limitations.

        Generally, the “lapse of a limitations period is an affirmative defense that a
defendant must plead and prove.” Staehr v. Hartford Fin. Servs. Grp., Inc., 547 F.3d
406, 425 (2d Cir. 2008). However, a defendant “may raise an affirmative defense in a
pre-answer Rule 12(b)(6) motion if the defense appears on the face of the complaint.”
Fisher v. Hudson Hall LLC, 2023 U.S. Dist. LEXIS 147803, at *4 (S.D.N.Y. 2023). A
district court may therefore “dismiss a claim on statute-of-limitations grounds at the
pleadings stage if the complaint clearly shows the claim is out of time.” Whiteside v.
Hover-Davis, Inc., 995 F.3d 315, 319 (2d Cir. 2021).

       The statute of limitations under the FLSA is two years for non-willful violations
and three years for willful violations. See 29 U.S.C. § 255(a). Importantly, “[a] plaintiff
must allege facts at the pleadings stage that give rise to a plausible inference that a
defendant willfully violated the FLSA for the three-year exception to apply.” Whiteside,
995 F.3d at 320. “[T]o prove a willful violation of the FLSA within the meaning of
§ 255(a), it must be established that the employer either knew or showed reckless

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disregard for the matter of whether its conduct was prohibited by the statute.” Parada v.
Banco Indus. De Venez., 753 F.3d 62, 71 (2d Cir. 2014). “[M]ere negligence on the part
of an employer is not enough to establish willfulness.” Malcolm v. City of N.Y., 2023
U.S. Dist. LEXIS 113634, at *8 (S.D.N.Y. 2023).

         Plaintiff does not plausibly allege that Defendants willfully violated the FLSA.
While the Plaintiff uses the word “willful” seven (7) times in the Complaint, Plaintiff
wholly fails to “allege facts . . . that give rise to a plausible inference that a defendant
willfully violated the FLSA.” Instead, Plaintiff relies on conclusory allegations of
“willfulness”. (See ¶¶ 27, 28, 29, 30, 33, 48, 56.) Such allegations are insufficient under
prevailing law. See Malcolm v. City of N.Y., 2023 U.S. Dist. LEXIS 113634, at *8
(Plaintiff asserted allegations in the Amended Complaint that he had made complaints
to the employer about violations of the FLSA, the employer was aware of its obligations
under the FLSA and the employer failed to comply.); Ramos v. Guaba Deli Grocery
Corp., 2021 U.S. Dist. LEXIS 227984, at *19 (S.D.N.Y. 2021) (same). In this case,
Plaintiff wholly fails to include any allegations even remotely similar to those asserted in
the aforementioned lawsuits. Because Plaintiff has failed to adequately allege
willfulness, the two-year statute of limitations applies. The FLSA claim is therefore time-
barred and the First Cause of Action must be dismissed.

         IV.   The Court Should Decline to Exercise Supplemental Jurisdiction
               Over Plaintiff’s State Law Claims
       Plaintiff also alleges violations of the NYLL. (See Complaint at ¶¶ 51-63).
Because, for the reasons above, Plaintiff’s sole federal law claim should be dismissed,
the Court should decline to exercise supplemental jurisdiction over the state law claims.
See 28 U.S.C. § 1367(c)(3); Whiteside, 995 F.3d at 325 (district court properly declined
to exercise supplemental jurisdiction over state law claims when FLSA claims were
dismissed on statute of limitations grounds); Fisher, 2023 U.S. Dist. LEXIS 147803, at
*9 (same). As such, The Second, Third, Fourth and Fifth Causes of Action should be
dismissed, which results in the Lawsuit being dismissed.

         V.    Plaintiff’s Lack Standing
       Finally, any claims for alleged violations of the recordkeeping provisions of the
NYLL must be dismissed, as Plaintiff does not have standing to assert such claims in
federal court. See, e.g., Garrido v. House of Salads One LLC, 2022 U.S. Dist. LEXIS
58496, at *18 (E.D.N.Y. 2022).

       In TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2214 (2021), the United States
Supreme Court held that an, “asserted informational injury that causes no adverse
effects does not satisfy Article III” and reaffirmed the long-standing principle that
standing under Article III of the U.S. Constitution requires a concrete injury in-fact. Id. at
2198. Since the TransUnion decision, numerous courts in this district have held that

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claims for violations of NYLL § 195(1) and (3) do not confer standing under Article III
and must be dismissed. See Quieju v. La Jugueria Inc., 2023 U.S. Dist. LEXIS 72050,
at *1 (E.D.N.Y. 2023); Francisco v. NY Tex Care, Inc., 2022 WL 900603, at *1 (E.D.N.Y.
2022); Wang v. XBB, Inc., 2022 WL 912592, at *13 (E.D.N.Y. 2022). Because there is
no evidence that any alleged recordkeeping violations resulted in a concrete injury to
Plaintiff, these claims would be dismissed by the court for lack of standing.

                                     *     *   *     *

      Consequently, Defendants request a pre-motion conference to make a Rule 12
Motion to Dismiss.

                                               Respectfully,




                                               Eric Weissman

cc:      All Counsel of Record (via ECF)




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